Case 19-34054-sgj11        Doc 4257 Filed 06/20/25 Entered 06/20/25 23:00:44              Desc
                              Main Document    Page 1 of 3




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ATTORNEYS FOR THE DALLAS FOUNDATION AND
CROWN GLOBAL LIFE INSURANCE, LTD.

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re:                                          §
                                                §     Chapter 11
HIGHLAND CAPITAL                                §
MANAGEMENT, L.P.,                               §
                                                §     Case No. 19-34054-sgj11
         Debtor.                                §


  THE DALLAS FOUNDATION AND CROWN GLOBAL LIFE INSURANCE, LTD.
        WITNESS AND EXHIBIT LIST FOR JUNE 25, 2025 HEARING

         The Dallas Foundation and Crown Global Life Insurance, Ltd. file this Witness and

Exhibit List for the December 25, 2025 hearing in the above-captioned case.

                                         WITNESSES

         The Dallas Foundation and Crown Global Life Insurance, Ltd. designate the following

individuals who may be called as witnesses at the June 25, 2025 Hearing (exclusive of those that

may be used for impeachment purposes):

            1. Torrey Littleton, Chief Financial Officer, The Dallas Foundation;

            2. All witnesses designated by any other party.
Case 19-34054-sgj11        Doc 4257 Filed 06/20/25 Entered 06/20/25 23:00:44             Desc
                              Main Document    Page 2 of 3




                                            EXHIBITS

        The Dallas Foundation and Crown Global Life Insurance, Ltd. designate the following

exhibits that may be used at the June 25, 2025 Hearing (exclusive of those that may be used for

impeachment purposes):

                                                                    O
                                                             M            O
                                                                    F           A
                                                             A            B
                                                                    F           D      Disp.
                DESCRIPTION                                  R            J
Ex. #                                                               E           M      After
                                                             K            E
                                                                    R           I      Trial
                                                             E            C
                                                                    E           T
                                                             D            T
                                                                    D
 1.     Charitable DAF/CLO HoldCo Organization Chart


 2.     Rand Structure Chart


 3.     Haynes & Boone July 9, 2021 Memo on DAFs and
        Sponsoring Orgs [ECF #2547-4]

 4.     Charitable Respondents’ Response and Disclosures
        Related to the Court’s Order Requiring Disclosures
        with Exhibits 1 – 43 [ECF #2547]

 5.     Any exhibits designated by other parties



        The Dallas Foundation and Crown Global Life Insurance, Ltd. reserve the right to use

additional demonstrative exhibits as they deem appropriate in connection with the June 25, 2025

Hearing. The Dallas Foundation and Crown Global Life Insurance, Ltd reserve the right to use

any exhibits presented by any other party and reserve the right to amend and/or supplement this

exhibit list.

Respectfully submitted on this 22nd day of June 2025.



THE DALLAS FOUNDATION AND CROWN GLOBAL LIFE INSURANCE, LTD WITNESS AND
EXHIBIT LIST FOR JUNE 25, 2025 HEARING—Page 2
Case 19-34054-sgj11   Doc 4257 Filed 06/20/25 Entered 06/20/25 23:00:44   Desc
                         Main Document    Page 3 of 3




                                    OKIN ADAMS BARTLETT CURRY LLP

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THE DALLAS FOUNDATION AND CROWN GLOBAL LIFE INSURANCE, LTD WITNESS AND
EXHIBIT LIST FOR JUNE 25, 2025 HEARING—Page 3
